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U.S. District Court for the Northern District Of Illinois
Attorney Appearance Form

 

Case Tite: )ASgN PaowN Case Number: / 4% CR 8 s8

An appearance is hereby filed by the undersigned as attorney for:

Attorney name (type or print): Nicholas G. Grapsas

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Firm: NICHOLAS G. GRAPSAS, LTD.

Street address: 1648 Colonial Parkway, 2d Floor

City/State/Zip: Inverness, IL 60067

Bar ID Number: 6197296 Telephone Number: 847.963.0100
(See item 3 in instructions)

Email Address: nick@grapsaslaw.com

Are you acting as lead counsel in this case? | Yes | |No
Are you acting as local counsel in this case? [ Yes ly] No
Are you a member of the court's trial bar? v| Yes No
If this case reaches trial, will you act as the trial attorney? | Yes No
If this is a criminal case, check your status. [| Retained Counsel

 

| Appointed Counsel
If appointed counsel, are you

[ Federal Defender
CJA Panel Attorney

 

 

 

 

In order to appear before this Court an attorney must either be a member in good standing of this Court's
general bar or be granted leave to appear pro hac vice as provided for by local rules 83.12 through 83.14.
| declare under penalty of perjury that the foregoing is true and correct. Under 28 U.S.C.§1746, this
statement under perjury has the same force and effect as a sworn statement made under oath.

Executed on

Attorney signature: | $/ Nicholas G. Grapsas
(Use electronic signature if the appearance form is filed electronically.)

 

Revised 8/1/2015
